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                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division

IN RE:
JOHN TAYLOR JORDAN                                            Case No. 17-33374-KRH
CARLA YVONNE JORDAN                                           Chapter 13
                  Debtors
*************************************
JOHN TAYLOR JORDAN
and
CARLA YVONNE JORDAN
                  Plaintiffs,
v.                                                            AP No. ___________

U.S. BANK NATIONAL ASSOCIATION
Serve: Andrew Cecere
President/CEO
800 Nicollet Mall
Minneapolis, MN 5402

Also Serve:
U.S. BANK NATIONAL ASSOCIATION
c/o CT Corporation System, Registered Agent
4701 Cox Road, Suite 285
Glen Allen, VA 23060

U.S. BANK HOME MORTGAGE
a division of U.S. Bank National Association
4801 Frederica Street
Owensboro, KY 42301

and

SAMUEL I. WHITE, P.C., TRUSTEE
c/o William Adam White, R.A.
Samuel I. White PC
5040 Corporate Woods Dr Ste 120
Virginia Beach, VA 23462-0000,

                         Defendants.


Robert B. Easterling, VSB #15552
2217 Princess Anne Street, Suite 100-2
Fredericksburg, VA 22401-3359
(540) 373-5030
(540) 373-5234 facsimile
eastlaw@easterlinglaw.com
Counsel for Plaintiffs
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                                COMPLAINT TO AVOID LIEN

       COME NOW the Debtors/Plaintiffs, by counsel, pursuant to 11 U.S.C. § 506, and hereby

file this Complaint to avoid a certain lien held and serviced by the Creditor/Defendant, U.S.

Bank National Association, (“U.S. Bank”) on certain real property owned by the

Debtors/Plaintiffs, and in support thereof, state as follows:

                                            Jurisdiction:

       1.      This is an action brought by the Plaintiffs pursuant to 11 U.S.C. §506(a) and (d)

and 11 U.S.C. §1322(b)(2) and Rules 3012 and 7001(2) of the Federal Rules of Bankruptcy

Procedure to determine the validity, priority and extent of the interest of U.S. Bank in the real

estate of the debtors owned as their primary residence and to modify the secured claims thereto.

       2.      This is a core proceeding as that term is defined in 28 U.S.C. §157(b)(2) in that it

concerns determinations of the validity, extent, or priority of liens.

       3.      Jurisdiction of the Court over the instant proceeding is based upon 28 U.S.C.

§1334 because the Plaintiffs filed a voluntary petition under Chapter 13 of the Bankruptcy Code

on July 3, 2017, Case No. 17-33374-KRH (the “Bankruptcy Case”).

       4.      In a prior Chapter 7 case (Case Number 13-36374-KRH) filed in this Court on

November 25, 2013 (the “Prior Bankruptcy Case”), the Debtors received a discharge.

                                                  Facts

       5.      At all times relevant herein, Plaintiffs were, and are, the owners of certain real

property and improvements thereon located at 8400 S. Carolina Ct., Spotsylvania, VA 22553

(hereinafter the “Property”), and which is more particularly described as follows:

       All that certain lot or parcel of land, with all rights and privileges thereto
       appurtenant, situate, lying and being in Chancellor Magisterial District,
       Spotsylvania County, Virginia, more particularly shown and described as the
       remainder of Tax Map 10-A-59, being 2.231 acres (net), on division plat showing
       Parcel 59-A, prepared by Farmer Surveys, Inc. dated August 4, 2004, and



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       recorded in the Clerk’s Office of the Circuit Court of Spotsylvania County,
       Virginia, as Instrument #200400039987.

       Together with a non-exclusive 30’ ingress-egress easement as shown on said plat,
       and non-exclusive rights to that easement for the benefit of Parcel C-1, of which
       the subject property is a part.

       Being the same property conveyed unto John Jordan and Carla Jordan by Deed
       from Top-Notch Builders, Inc., a Virginia Corporation, by deed recorded in the
       aforesaid Clerk’s Office as Instrument #200600023603.

       5.      The Property is used as Debtors’ principal residence.

       6.      The fair market value of said property was $320,000.00 as of July 3, 2017, (the

Petition filing date) based upon an Appraisal of said property conducted by Ronald W. Davis of

Appraisal Group of Fredericksburg 6320 Five Mile Centre Park Suite 323, Fredericksburg, VA

22407 (540) 786-4500. (A copy of the appraisal is attached hereto as Exhibit 1 and incorporated

herein by this reference.)

       7.      The Debtors have a first Deed of Trust lien on the Property with U.S. Bank N.A.,

Noteholder, or its assigns, with a balance of $370,490.42 as of August 2, 2017, as evidenced by

Proof of Claim (Claim 2) filed on behalf of U.S. Bank National Association. The first Deed of

Trust was recorded as Instrument #100020256 and modified by Loan Modification Agreement

recorded as Instrument #140000216 in the Circuit Court Clerk’s Office of the County of

Spotsylvania, Virginia. This loan was a refinance of a loan originally secured by Deed of Trust

recorded as Instrument #200800014472. A copy of the first Deed of Trust is attached to Claim 2

previously filed in the Bankruptcy Case.

       8.      The Debtors have a second Deed of Trust (the “second lien”) on the property

which is also held by U.S. Bank National Association, with Samuel I. White, P.C. named as

Trustee, with a balance of $44,676.93 as of September 22, 2017, as evidenced by Proof of Claim

(Claim 6) filed on behalf of U.S. Bank National Association. The second Deed of Trust was



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recorded as Instrument #200800014473 in the Circuit Court Clerk’s Office of the County of

Spotsylvania, Virginia. A copy of the second Deed of Trust is attached to Claim 6 previously

filed in the Bankruptcy Case. The second Deed of Trust was subordinated to the first Deed of

Trust by subordination agreement dated October 1, 2010 and recorded as Instrument

#201000020257 in the aforesaid Clerk’s Office. A copy of the subordination agreement is

attached hereto as Exhibit 2.

       9.      Because the amount owed on the first lien on the property exceeds the value of

the property, there is no equity to which the second lien may attach.

       10.     Accordingly, the second lien does not qualify for the anti-modification protection

clause of 11 U.S.C. §1322(b)(2) and may be stripped off under the principles announced in In re

Derrick & Tracie Millard, #09-2266 [4th Cir. 2010 unpublished opinion affirming In re Millard,

414 B.R. 73 (D. Md. 2009) on the principles announced by the district court in the underlying

case]. A Chapter 13 debtor ineligible for a discharge may, upon completion of the plan, strip a

wholly-unsecured lien. In re Davis, 716 F.3d 331 (2013).

       11.     When the lien securing the claim is stripped off, any unsecured liability on that

claim was discharged in the Chapter 7 case previously filed by the Debtors. (See In re Sweitzer,

#11-27305 (Md. 2012) adopting the ruling of In re Scantling, 465 B.R. 671 (Bankr. M.D. Fla.

2012) that “the holder of a wholly unsecured junior mortgage lien holds neither a secured claim

– by virtue of the §506 valuation – nor an unsecured claim enforceable against the debtor – by

virtue of the prior discharge.” Id. at 680.

       WHEREFORE, the Debtors/Plaintiffs respectfully request that this Honorable Court

grant the following relief:

       A.      Declare the second lien claim of U.S. Bank to be wholly unsecured and its lien

               subject to avoidance.



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       B.      To declare the above described lien to be null and void.

       C.      To order U.S. Bank and/or any entity on whose behalf it is servicing the

               underlying loan, their successors, assigns and agents to cancel and release the

               above described lien against the real property, immediately upon entry of the

               Discharge Order and deliver the same to the attorney for the Plaintiffs within 30

               days from the date of the entry of said order at no charge or fee for the aforestated

               cancellation and delivery.

       D.      To direct the Trustee that any timely filed proof of claim for the debt(s) secured

               by the above-described lien be treated as discharged in the Prior Bankruptcy Case

               and of zero value under the plan.

       To award the Plaintiffs such other and further relief, including reasonable costs incurred

and attorney’s fees earned and agreed to by the Debtors in conjunction with the preparation and

adjudication of this Complaint, as is just and proper.

       Dated this 12th day of January 2018.

                                              John Taylor Jordan
                                              Carla Yvonne Jordan

                                              By: /s/Robert B. Easterling
                                              Robert B. Easterling, VSB #15552
                                              2217 Princess Anne Street, Suite 100-2
                                              Fredericksburg, VA 22401-3359
                                              (540) 373-5030
                                              (540) 373-5234 facsimile
                                              eastlaw@easterlinglaw.com
                                              Counsel for Plaintiffs




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         APPRAISAL GROUP OF FREDERICKSBURG
         6320 FIVE MILE CENTRE PARK SUITE 323
         FREDERICKSBURG, VA. 22407
         (540) 786-4500 x 121



         01/05/2018

         JOHN & CARLA JORDAN




         Re: Property:        8400 S Carolina Ct
                              Spotsylvania, VA 22553
             Borrower:        N/A
             File No.:        A17965.RWD



         Opinion of Value: $ 320,000
         Effective Date:     07/03/2017



         In accordance with your request, we have appraised the above referenced property. The report of that appraisal is
         attached.

         The purpose of the appraisal is to develop an opinion of market value for the property described in this appraisal
         report, as improved, in unencumbered fee simple title of ownership.

         This report is based on a physical analysis of the site and improvements, a locational analysis of the neighborhood and
         city, and an economic analysis of the market for properties such as the subject. The appraisal was developed and the
         report was prepared in accordance with the Uniform Standards of Professional Appraisal Practice.

         The opinion of value reported above is as of the stated effective date and is contingent upon the certification and
         limiting conditions attached.

         It has been a pleasure to assist you. Please do not hesitate to contact me or any of my staff if we can be of additional
         service to you.




         Sincerely,




         RONALD W. DAVIS
         LICENSED RESIDENTIAL
         License or Certification #: 4001001363
         State: VA     Expires: 02/28/2018
         rdavis@bestappraisal.com




                                                                                                                     EXHIBIT 1
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                        APPRAISAL OF REAL PROPERTY




                                                LOCATED AT
                                            8400 S Carolina Ct
                                          Spotsylvania, VA 22553
                                    DAVIS-HEDGE TAX MAP# 10-A-59




                                                       FOR
                                           JOHN & CARLA JORDAN




                                         OPINION OF VALUE
                                                     $320,000




                                                     AS OF
                                                    07/03/2017




                                                         BY
                                          RONALD W. DAVIS
                               APPRAISAL GROUP OF FREDERICKSBURG
                               6320 FIVE MILE CENTRE PARK SUITE 323
                                     FREDERICKSBURG, VA. 22407
                                         (540) 786-4500 x 121
                                       rdavis@bestappraisal.com




                       Form GA1V - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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    Borrower               N/A                                                                                                                                                                         File No.
    Property Address       8400 S Carolina Ct
    City                   Spotsylvania                                                                       County SPOTSYLVANIA                                                        State VA                    Zip Code 22553
    Lender/Client          JOHN & CARLA JORDAN


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                                                                         SUMMARY OF SALIENT FEATURES




                                      Subject Address                    8400 S Carolina Ct

                                      Legal Description                  DAVIS-HEDGE TAX MAP# 10-A-59

                                      City                               Spotsylvania
        SUBJECT INFORMATION




                                      County                             SPOTSYLVANIA

                                      State                              VA

                                      Zip Code                           22553

                                      Census Tract                       0201.04

                                      Map Reference                      47894
        PRICE & DATE




                                      Contract Price                 $

                                      Date of Contract




                                      Borrower                           N/A
        PARTIES




                                      Lender/Client                      JOHN & CARLA JORDAN




                                      Size (Square Feet)                 3,423

                                      Price per Square Foot          $
        DESCRIPTION OF IMPROVEMENTS




                                      Location                           AVERAGE

                                      Age                                10

                                      Condition                          AVERAGE(-)

                                      Total Rooms                        12

                                      Bedrooms                           4

                                      Baths                              3.5
        APPRAISER




                                      Appraiser                          RONALD W. DAVIS

                                      Effective Date of Appraisal        07/03/2017
        VALUE




                                      Opinion of Value               $ 320,000




                                                                    Form SSF - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                          Appraisal Group Of Fredericksburg (540) 786-4500
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                                      Property Address: 8400 S Carolina Ct                                                              City: Spotsylvania                                 State: VA          Zip Code: 22553
                                      County: SPOTSYLVANIA                                               Legal Description:    DAVIS-HEDGE TAX MAP# 10-A-59




    SUBJECT
                                                                                                                                                     Assessor's Parcel #:        10-A-59
                                      Tax Year: 2017                R.E. Taxes: $ 3,044.00            Special Assessments: $ 0                       Borrower (if applicable):      N/A
                                      Current Owner of Record:           JOHN & CARLA JORDAN                                               Occupant:         Owner             Tenant           Vacant              Manufactured Housing
                                      Project Type:               PUD          Condominium             Cooperative          Other (describe)                                         HOA: $ 0                      per year        per month
                                      Market Area Name:          CHANCELLOR AREA                                                             Map Reference: 47894                                  Census Tract: 0201.04
                                      The purpose of this appraisal is to develop an opinion of:                Market Value (as defined), or         other type of value (describe)
                                      This report reflects the following value (if not Current, see comments):                 Current (the Inspection Date is the Effective Date)                Retrospective             Prospective
    ASSIGNMENT




                                      Approaches developed for this appraisal:              Sales Comparison Approach              Cost Approach           Income Approach (See Reconciliation Comments and Scope of Work)
                                      Property Rights Appraised:              Fee Simple            Leasehold          Leased Fee            Other (describe)
                                      Intended Use: THE INTENT OF THIS APPRAISAL IS TO EVALUATE THE SUBJECT FOR MARKET VALUE, FOR PERSONAL USE BY THE
                                       CLIENT REGARDING BANKRUPTCY PROCEEDINGS, RETROSPECTIVE AS OF JULY 3, 2017.
                                      Intended User(s) (by name or type):          JOHN & CARLA JORDAN AND/OR ASSIGNS
                                      Client:     JOHN & CARLA JORDAN                                                   Address: 8400 SOUTH CAROLINA CT. SPOTSYLVANIA, VA 22553
                                      Appraiser:       RONALD W. DAVIS                                                  Address: 6320 FIVE MILE CENTRE PARK STE. 323 FREDERICKSBURG, VA 22407
                                      Location:                 Urban                Suburban           Rural              Predominant              One-Unit Housing              Present Land Use                Change in Land Use
                                      Built up:                 Over 75%             25-75%             Under 25%           Occupancy             PRICE               AGE       One-Unit           60 %         Not Likely
                                      Growth rate:              Rapid                Stable             Slow                 Owner                $(000)              (yrs)     2-4 Unit             0%         Likely *         In Process *
    MARKET AREA DESCRIPTION




                                      Property values:          Increasing           Stable             Declining            Tenant             170,000 Low             1       Multi-Unit           0 % * To:
                                      Demand/supply:            Shortage             In Balance         Over Supply          Vacant (0-5%) 600,000 High                65       Comm'l               0%
                                      Marketing time:           Under 3 Mos.         3-6 Mos.           Over 6 Mos.          Vacant (>5%) 404,000 Pred                 36      VACANT              40 %
                                      Market Area Boundaries, Description, and Market Conditions (including support for the above characteristics and trends):                           THE SUBJECT PROPERTY IS
                                       LOCATED IN NORTHEASTERN SPOTSYLVANIA COUNTY, VA AND IS APPROXIMATELY 7 MILES WEST OF THE CITY LIMITS OF
                                       FREDERICKSBURG. AREA CONSISTS OF AVERAGE-GOOD QUALITY HOMES OF VARIOUS DESIGNS SITUATED ON SMALL
                                       ACREAGE HOMESITES. ACCESS TO MAJOR TRANSPORTATION ROUTES ARE WITHIN A CONVENIENT DISTANCE FROM THE
                                       AREA. ALL SUPPORT FACILITIES ARE ALSO WITHIN A CONVENIENT DISTANCE.
                                       THE CURRENT MARKET APPEARS TO BE INCREASING OVER THE PAST 24-36 MONTHS WITH A SLIGHT SHORTAGE OF
                                       INVENTORY. FORECLOSURE SALES AND SHORT SALES ARE NOT A FACTOR. CONVENTIONAL LOANS AND GOVERNMENT
                                       BACKED/SECURED LOANS ARE TYPICAL. MARKETING TIME IS 0-6 MONTHS

                                      Dimensions: RECTANGULAR (SEE GIS MAP)                                                                                      Site Area: 2.23 ACRES
                                      Zoning Classification: RU                                                                                                  Description: RURAL
                                                                                                                 Zoning Compliance:         Legal                    Legal nonconforming (grandfathered)                        Illegal         No zoning
                                      Are CC&Rs applicable?         Yes           No       Unknown           Have the documents been reviewed?                      Yes      No     Ground Rent (if applicable)             $                 0/
                                      Highest & Best Use as improved:             Present use, or            Other use (explain)

                                      Actual Use as of Effective Date:      SINGLE FAMILY RESIDENTIAL          Use as appraised in this report: SINGLE FAMILY RESIDENTIAL
                                      Summary of Highest & Best Use:          HIGHEST AND BEST USE OF THE SUBJECT PROPERTY IS SINGLE FAMILY RESIDENTIAL.
    SITE DESCRIPTION




                                      Utilities       Public Other       Provider/Description  Off-site Improvements     Type             Public Private Topography LEVEL-GENTLY SLOPING
                                      Electricity                    PUBLIC                    Street        GRAVEL                                      Size       TYPICAL OF AREA
                                      Gas                            NONE                      Curb/Gutter NONE                                          Shape      RECTANGULAR
                                      Water                          WELL/PRIVATE              Sidewalk      NONE                                        Drainage   APPEARS ADEQUATE
                                      Sanitary Sewer                 SEPTIC/PRIVATE            Street Lights NONE                                        View       TYPICAL OF AREA
                                      Storm Sewer                    NONE                      Alley         NONE
                                      Other site elements:       Inside Lot        Corner Lot     Cul de Sac     Underground Utilities  Other (describe)
                                      FEMA Spec'l Flood Hazard Area          Yes       No FEMA Flood Zone X                 FEMA Map # 5103080050C                   FEMA Map Date 2/18/1998
                                      Site Comments:       SUBJECT IS LEVEL-GENTLY SLOPING AND IS TYPICAL OF THE NEIGHBORHOOD . SITE IS SUBJECT TO USUAL
                                      UTILITY EASEMENTS OF RECORD, IF ANY. SITE CONFORMS WELL WITH AREA. NO ADVERSE EASEMENTS OR ENCROACHMENTS
                                      NOTED AT TIME OF INSPECTION.

                                      General Description                            Exterior Description                           Foundation                  Basement            None        Heating
                                      # of Units        1          Acc.Unit          Foundation              CONC BLOCK             Slab        NO              Area Sq. Ft.                    Type      FWA
                                      # of Stories      2                            Exterior Walls          VINYL                  Crawl Space YES             % Finished                      Fuel      ELEC
                                      Type        Det.      Att.                     Roof Surface            SHINGLES               Basement    NONE            Ceiling
                                      Design (Style) CONTEMPORARY                    Gutters & Dwnspts.      ALUMINUM               Sump Pump      NONE         Walls                           Cooling
                                          Existing       Proposed Und.Cons.          Window Type             DBL HUNG               Dampness       NONE         Floor                           Central CAC
                                      Actual Age (Yrs.)      10                      Storm/Screens           SCREENS                Settlement NONE NTD         Outside Entry                   Other
    DESCRIPTION OF THE IMPROVEMENTS




                                      Effective Age (Yrs.) 20                                                                       Infestation NONE NTD
                                      Interior Description                              Appliances             Attic      None Amenities                                                  Car Storage              None
                                      Floors            HRDWD/CARPET                    Refrigerator           Stairs          Fireplace(s) #               Woodstove(s) # 1              Garage # of cars ( 6 Tot.)
                                      Walls             DRYWALL                         Range/Oven             Drop Stair      Patio                                                       Attach.      2
                                      Trim/Finish       PAINTED WOOD                    Disposal               Scuttle         Deck       REAR                                             Detach.
                                      Bath Floor        VINYL                           Dishwasher             Doorway         Porch SCREEN                                                Blt.-In
                                      Bath Wainscot FBRGLASS/TILE                       Fan/Hood               Floor           Fence                                                      Carport
                                      Doors             6 PANEL                         Microwave              Heated          Pool                                                       Driveway      4
                                                                                        Washer/Dryer           Finished                                                                    Surface GRAVEL
                                      Finished area above grade contains:                12 Rooms                       4 Bedrooms              3.5 Bath(s)           3,423 Square Feet of Gross Living Area Above Grade
                                      Additional features:    FLUE WITH WOODSTOVE, SCREEN PORCH, DECK, ADDITIONAL KITCHEN ON UPPER LEVEL, 2 CAR GARAGE.

                                      Describe the condition of the property (including physical, functional and external obsolescence):
                                                                                                  SUBJECT PROPERTY IS CONSIDERED TO BE IN
                                      AVERAGE(-) CONDITION AT TIME OF INSPECTION. RECOMMENDED REPAIRS INCLUDE NEED FOR NEW INTERIOR PAINT,
                                      HARDWOOD FLOORS ARE WORN, CARPETS IN FAIR CONDITION, DAMAGE TO TOILETS & TUBS FROM HARD WATER IN WELL,
                                      OWNER STATES THAT THERE IS BLACK MOLD IN CRAWL SPACE AND HVAC SYSTEM NEEDS REPAIR FOR 2ND LEVEL, DECK
                                      SHOWS EVIDENCE OF WOOD DECAY, FOUNDATION DAMAGE AT CRAWL SPACE DOOR.


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                                                                                         Form GPRES2 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE                                                                                   3/2007
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                               My research        did        did not reveal any prior sales or transfers of the subject property for the three years prior to the effective date of this appraisal.
                               Data Source(s): MRIS & SPOTSYLVANIA COUNTY TAX RECORDS.




   TRANSFER HISTORY
                                       1st Prior Subject Sale/Transfer            Analysis of sale/transfer history and/or any current agreement of sale/listing:            THERE ARE NO PRIOR TRANSFERS
                               Date:                                              OF THE SUBJECT PROPERTY OR THE COMPARABLE SALES WITHIN THE PAST 36 MONTHS OF
                               Price:                                             THIS APPRAISAL. INFORMATION VERIFIED BY SPOTSYLVANIA COUNTY TAX RECORDS.
                               Source(s):
                                      2nd Prior Subject Sale/Transfer
                               Date:
                               Price:
                               Source(s):
                               SALES COMPARISON APPROACH TO VALUE (if developed)                                  The Sales Comparison Approach was not developed for this appraisal.
                                       FEATURE                       SUBJECT                       COMPARABLE SALE # 1                             COMPARABLE SALE # 2                              COMPARABLE SALE # 3
                               Address 8400 S Carolina Ct                                10709 Greenwood Dr                               12732 Banner Plantation Dr                       9701 Renfield Ct
                                           Spotsylvania, VA 22553                     Spotsylvania, VA 22553                               Fredericksburg, VA 22407                             Spotsylvania, VA 22553
                               Proximity to Subject                                   5.57 miles NW                                        3.86 miles E                                         4.58 miles SE
                               Sale Price                $                                                $      365,000                                        $      350,000                                      $      455,000
                               Sale Price/GLA            $                  /sq.ft.   $    125.39 /sq.ft.                                  $      95.42 /sq.ft.                                 $    135.10 /sq.ft.
                               Data Source(s)            INSPECTION                   MRIS# SP9665883 DOM; 88                              MRIS# SP9818622 DOM; 0                               MRIS# SP9903984 DOM; 371
                               Verification Source(s)    TAX RECDS                    MRIS/CO. TAX RECORDS                                 MRIS/CO. TAX RECORDS                                 MRIS/CO. TAX RECORDS
                                 VALUE ADJUSTMENTS             DESCRIPTION                DESCRIPTION       +(-) $ Adjust.                     DESCRIPTION        +(-) $ Adjust.                    DESCRIPTION       +(-) $ Adjust.
                               Sales or Financing                                     Arms Length                                          Short Sale                                           Arms Length
                               Concessions                                            CONV                                                 CASH                                                 VA
                               Date of Sale/Time         N/A                          C;09/16, S;10/16                                     C;12/16, S;03/16                                     C;04/17, S;05/17
                               Rights Appraised          Fee Simple                   Fee Simple                                           Fee Simple                                           Fee Simple
                               Location                  AVERAGE                      AVERAGE                                              AVERAGE                                              AVERAGE
                               Site                      2.23 ACRES                   5.00 ACRES                   -6,900                  3.08 ACRES                    -1,900                 1.54 ACRES                  +1,700
                               View                      TYPICAL                      TYPICAL                                              TYPICAL                                              TYPICAL
                               Design (Style)            CONTEMPORARY                 CAPE COD                                             COLONIAL                                             COLONIAL
                               Quality of Construction   AVERAGE                      GOOD                       -50,000                   AVERAGE(+)                  -10,000                  GOOD                       -50,000
                               Age                       10                           24                          +7,000                   28                           +9,000                  7                            -1,500
                               Condition                 AVERAGE(-)                   GOOD                       -25,000                   AVERAGE                     -15,000                  GOOD                       -25,000
                               Above Grade                Total Bdrms    Baths        Total Bdrms         Baths                             Total Bdrms         Baths                            Total Bdrms         Baths
                               Room Count                 12      4      3.5           10        4       2.5                  +4,000         8    2.5 4                             +4,000 10    4     2.5                                +4,000
                               Gross Living Area                    3,423 sq.ft.                     2,911 sq.ft.            +15,400          3,668 sq.ft.                          -7,400         3,368 sq.ft.                           +1,600
                               Basement & Finished                                                                                     FULL BSMT                                   -20,000 FULL BSMT                                     -20,000
                               Rooms Below Grade         CRAWL SPACE                  CRAWL SPACE                                      RR,2BR,BA,KIT                               -20,000 FR,DEN,OFF,BA                                 -15,000
                               Functional Utility        ADEQUATE                     ADEQUATE                                         ADEQUATE                                            AVERAGE
                               Heating/Cooling           FWA/CAC                      FWA/CAC                                          FWA/CAC                                             FWA/CAC
                               Energy Efficient Items    BASIC                        BASIC                                            BASIC                                               BASIC
   SALES COMPARISON APPROACH




                               Garage/Carport            2 CAR GAR                    2 CAR GAR                                        2 CAR GAR                                           2 CAR GAR
                               Porch/Patio/Deck          SCPOR,DECK                   PORCH,DECK                                 +500 DECK                                          +2,500 PORCH,PATIO                                    +1,000
                               OTHER                       FLUE                       FIREPLACE                                 -1,500 FIREPLACE                                    -1,500 FIREPLACE                                      -1,500




                               Net Adjustment (Total)                                           +           -     $           -56,500                 +           -     $          -60,300                 +           -     $         -104,700
                               Adjusted Sale Price
                               of Comparables                                 $    308,500              $     289,700             $   350,300
                               Summary of Sales Comparison Approach
                                                            ALL COMPARABLE SALES USED IN THIS ESTIMATE OF VALUE ARE CONSIDERED TO BE THE
                               BEST AND MOST CURRENT SALES AVAILABLE AND ARE THE BEST INDICATORS OF VALUE AT THIS TIME. SALES WERE CHOSEN
                               BASED ON SALE DATE, GROSS LIVING AREA (GLA), FUNCTIONAL UTILITY, ROOM COUNT AND NUMBER OF BEDROOMS AND
                               BATHS. ALL COMPARABLE SALES ARE SUPERIOR IN CONDITION AS THE SUBJECT NEEDS REPAIRS. (SEE LIST OF
                               RECOMMENDED REPAIRS). SALES #1 AND #3 ARE SUPERIOR IN QUALITY OF CONSTRUCTION. SALE #2 IS A SHORT SALE
                               HOWEVER WAS USED TO BRACKET GROSS LIVING AREA AS WELL AS THIS DWELLING HAS AN ADDITIONAL KITCHEN SIMILAR
                               TO THAT OF THE SUBJECT.




                               Indicated Value by Sales Comparison Approach $                   320,000
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                                                                                Form GPRES2 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE                                                                                  3/2007
Case 17-33374-KRH Doc 37 Filed 01/15/18 Entered 01/15/18 15:58:55 Desc Main
   RESIDENTIAL APPRAISALDocument
                          REPORT Page 12 of 32         File No.: A17965.RWD
                     COST APPROACH TO VALUE (if developed)                           The Cost Approach was not developed for this appraisal.
                     Provide adequate information for replication of the following cost figures and calculations.
                     Support for the opinion of site value (summary of comparable land sales or other methods for estimating site value):                              COST APPROACH NOT NECESSARY AS
                     THIS APPRAISAL IS NOT FOR MORTGAGE PURPOSES.




                     ESTIMATED           REPRODUCTION OR          REPLACEMENT COST NEW                                           OPINION OF SITE VALUE                                                              =$
   COST APPROACH




                     Source of cost data:                                                                                        DWELLING                                   Sq.Ft. @ $                              =$
                     Quality rating from cost service:             Effective date of cost data:                                                                             Sq.Ft. @ $                              =$
                     Comments on Cost Approach (gross living area calculations, depreciation, etc.):                                                                        Sq.Ft. @ $                              =$
                                                                                                                                                                            Sq.Ft. @ $                              =$
                                                                                                                                                                            Sq.Ft. @ $                              =$
                                                                                                                                                                                                                    =$
                                                                                                                                 Garage/Carport                       Sq.Ft. @ $                                    =$
                                                                                                                                 Total Estimate of Cost-New                                                         =$
                                                                                                                                 Less               Physical        Functional               External
                                                                                                                                 Depreciation                                                                       =$(                      )
                                                                                                                                 Depreciated Cost of Improvements                                                   =$
                                                                                                                                 ''As-is'' Value of Site Improvements                                               =$
                                                                                                                                                                                                                    =$
                                                                                                                                                                                                                    =$
                     Estimated Remaining Economic Life (if required):                                           Years INDICATED VALUE BY COST APPROACH                                                              =$                     0
                     INCOME APPROACH TO VALUE (if developed)                          The Income Approach was not developed for this appraisal.
   INCOME APPROACH




                     Estimated Monthly Market Rent $      0                     X Gross Rent Multiplier         0     =$          0           Indicated Value by Income Approach
                     Summary of Income Approach (including support for market rent and GRM):            INCOME APPROACH TO VALUE NOT USED DUE TO PREDOMINANCE OF
                     OWNER OCCUPIED DWELLINGS.




                     PROJECT INFORMATION FOR PUDs (if applicable)                             The Subject is part of a Planned Unit Development.
                     Legal Name of Project:
                     Describe common elements and recreational facilities:
   PUD




                     Indicated Value by: Sales Comparison Approach $ 320,000 Cost Approach (if developed) $ 0 Income Approach (if developed) $ 0
                     Final Reconciliation THE SALES COMPARISON APPROACH IS THE BEST INDICATOR OF VALUE AND REFLECTS THE ATTITUDES OF
                      BUYERS AND SELLERS IN TODAYS MARKET. COST APPROACH AND INCOME APPROACH TO VALUE NOT UTILIZED IN THIS
                      APPRAISAL REPORT.
   RECONCILIATION




                     This appraisal is made       ''as is'',     subject to completion per plans and specifications on the basis of a Hypothetical Condition that the improvements have been
                     completed,        subject to the following repairs or alterations on the basis of a Hypothetical Condition that the repairs or alterations have been completed, subject to
                     the following required inspection based on the Extraordinary Assumption that the condition or deficiency does not require alteration or repair: THIS APPRAISAL
                     REPORT IS MADE "AS IS" .

                         This report is also subject to other Hypothetical Conditions and/or Extraordinary Assumptions as specified in the attached addenda.
                     Based on the degree of inspection of the subject property, as indicated below, defined Scope of Work, Statement of Assumptions and Limiting Conditions,
                     and Appraiser’s Certifications, my (our) Opinion of the Market Value (or other specified value type), as defined herein, of the real property that is the subject
                     of this report is: $              320,000                , as of:                 07/03/2017                     , which is the effective date of this appraisal.
                     If indicated above, this Opinion of Value is subject to Hypothetical Conditions and/or Extraordinary Assumptions included in this report. See attached addenda.
                     A true and complete copy of this report contains 24 pages, including exhibits which are considered an integral part of the report. This appraisal report may not be
   ATTACHMENTS




                     properly understood without reference to the information contained in the complete report.
                     Attached Exhibits:
                           Scope of Work                          Limiting Cond./Certifications                Narrative Addendum                           Photograph Addenda                            Sketch Addendum
                           Map Addenda                            Additional Sales                             Cost Addendum                                Flood Addendum                                Manuf. House Addendum
                           Hypothetical Conditions                Extraordinary Assumptions
                     Client Contact:                                                                                 Client Name: JOHN & CARLA JORDAN
                     E-Mail:                                                                                  Address: 8400 SOUTH CAROLINA CT. SPOTSYLVANIA, VA 22553
                     APPRAISER                                                                                                SUPERVISORY APPRAISER (if required)
                                                                                                                              or CO-APPRAISER (if applicable)
   SIGNATURES




                                                                                                                              Supervisory or
                     Appraiser Name:        RONALD W. DAVIS                                                                   Co-Appraiser Name:
                     Company: APPRAISAL GROUP OF FREDERICKSBURG                                                               Company:
                     Phone: (540) 786-4500 x 121                           Fax: 540-785-5604                                  Phone:                                                Fax:
                     E-Mail: rdavis@bestappraisal.com                                                                         E-Mail:
                     Date of Report (Signature):     01/05/2018                                                               Date of Report (Signature):
                     License or Certification #:     4001001363                                    State: VA                  License or Certification #:                                                                State:
                     Designation:       LICENSED RESIDENTIAL                                                                  Designation:
                     Expiration Date of License or Certification:         02/28/2018                                          Expiration Date of License or Certification:
                     Inspection of Subject:               Interior & Exterior        Exterior Only         None               Inspection of Subject:               Interior & Exterior                   Exterior Only              None
                     Date of Inspection:       12/28/2017                                                                     Date of Inspection:
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                                                                        Form GPRES2 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE                                                                                   3/2007
Case 17-33374-KRH Doc 37 Filed 01/15/18 Entered 01/15/18 15:58:55                                                                                                                                                                 Desc Main
   ADDITIONAL COMPARABLEDocument
                            SALES Page 13 of 32        File No.:
                                         FEATURE                 SUBJECT                    COMPARABLE SALE # 4                                     COMPARABLE SALE # 5                                  COMPARABLE SALE # 6
                               Address 8400 S Carolina Ct                             13600 Fox Chase Ln
                                           Spotsylvania, VA 22553                     Spotsylvania, VA 22553
                               Proximity to Subject                                   5.50 miles NW
                               Sale Price                $                                                $      370,000                                                $                                                    $
                               Sale Price/GLA            $                  /sq.ft.   $    120.09 /sq.ft.                  $                                 /sq.ft.                          $                    /sq.ft.
                               Data Source(s)            INSPECTION                   MRIS# SP9613676 DOM; 41
                               Verification Source(s)    TAX RECDS                    MRIS/CO. TAX RECORDS
                                 VALUE ADJUSTMENTS             DESCRIPTION                DESCRIPTION       +(-) $ Adjust.                      DESCRIPTION                  +(-) $ Adjust.          DESCRIPTION                  +(-) $ Adjust.
                               Sales or Financing                                     Arms Length
                               Concessions                                            CONV
                               Date of Sale/Time         N/A                          C;05/16, S;07/16
                               Rights Appraised          Fee Simple                   Fee Simple
                               Location                  AVERAGE                      AVERAGE
                               Site                      2.23 ACRES                   1.02 ACRES                  +3,000
                               View                      TYPICAL                      TYPICAL
                               Design (Style)            CONTEMPORARY                 CAPE COD
                               Quality of Construction   AVERAGE                      AVERAGE(+)                 -25,000
                               Age                       10                           17                          +3,500
                               Condition                 AVERAGE(-)                   GOOD                       -25,000
                               Above Grade                Total Bdrms    Baths        Total Bdrms       Baths                             Total Bdrms         Baths                            Total Bdrms         Baths
                               Room Count                 12      4      3.5           10      3       2.5                  +4,000
                               Gross Living Area                    3,423 sq.ft.                   3,081 sq.ft.            +10,300                                  sq.ft.                                               sq.ft.
                               Basement & Finished
                               Rooms Below Grade         CRAWL SPACE                  CRAWL SPACE
                               Functional Utility        ADEQUATE                     ADEQUATE
                               Heating/Cooling           FWA/CAC                      FWA/CAC
                               Energy Efficient Items    BASIC                        BASIC
                               Garage/Carport            2 CAR GAR                    2 CAR GAR
                               Porch/Patio/Deck          SCPOR,DECK                   PORCH,DECK                               +500
                               OTHER                      FLUE                        FIREPLACE                               -1,500
   SALES COMPARISON APPROACH




                               Net Adjustment (Total)                                         +           -     $           -30,200                 +           -       $                                +           -       $
                               Adjusted Sale Price
                               of Comparables                                 $     339,800              $          0              $         0
                               Summary of Sales Comparison Approach
                                                           SALE #4 IS SLIGHTLY SIMILAR TO THE SUBJECT IN GROSS LIVING AREA AND DOES NOT HAVE
                               A BASEMENT. SALE #4 WAS USED TO SUPPORT VALUE.




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                                                                           Form GPRES2.(AC) - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE                                                                                3/2007
Case 17-33374-KRH                 Doc 37        Filed 01/15/18 Entered 01/15/18 15:58:55                                                  Desc Main
                                               Document
                                                     BuildingPage  14 of 32
                                                              Sketch
    Borrower           N/A
    Property Address   8400 S Carolina Ct
    City               Spotsylvania                             County SPOTSYLVANIA                           State VA   Zip Code 22553
    Lender/Client      JOHN & CARLA JORDAN




                                      Form SKT.BLDSKI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
Case 17-33374-KRH   Doc 37      Filed 01/15/18 Entered 01/15/18 15:58:55                             Desc Main
                                   GIS MAP OF
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                       Form SCNLGL - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
Case 17-33374-KRH                 Doc 37        Filed 01/15/18 Entered 01/15/18 15:58:55                                                 Desc Main
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                                                  ComparablePage
                                                             Sales 16
                                                                   Mapof 32
    Borrower           N/A
    Property Address   8400 S Carolina Ct
    City               Spotsylvania                            County SPOTSYLVANIA                           State VA   Zip Code 22553
    Lender/Client      JOHN & CARLA JORDAN




                                       Form MAP.LOC - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
Case 17-33374-KRH                 Doc 37        Filed 01/15/18 Entered 01/15/18 15:58:55                                                 Desc Main
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                                                             Map 17 of 32
    Borrower           N/A
    Property Address   8400 S Carolina Ct
    City               Spotsylvania                            County SPOTSYLVANIA                           State VA   Zip Code 22553
    Lender/Client      JOHN & CARLA JORDAN




                                      Form MAP.FLOOD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
Case 17-33374-KRH                 Doc 37         Filed 01/15/18 Entered 01/15/18 15:58:55                                                      Desc Main
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                                                     Subject Photo 18 of 32
    Borrower           N/A
    Property Address   8400 S Carolina Ct
    City               Spotsylvania                             County SPOTSYLVANIA                            State VA       Zip Code 22553
    Lender/Client      JOHN & CARLA JORDAN




                                                                                                                          Subject Front
                                                                                                        8400 S Carolina Ct
                                                                                                        Sales Price
                                                                                                        Gross Living Area 3,423
                                                                                                        Total Rooms       12
                                                                                                        Total Bedrooms    4
                                                                                                        Total Bathrooms   3.5
                                                                                                        Location          AVERAGE
                                                                                                        View              TYPICAL
                                                                                                        Site              2.23 ACRES
                                                                                                        Quality           AVERAGE
                                                                                                        Age               10




                                                                                                                          Subject Rear




                                                                                                                        Subject Street




                                       Form PICPIX.SR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                  Comparable Page
                                                              Photo 19 of 32
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    Borrower           N/A
    Property Address   8400 S Carolina Ct
    City               Spotsylvania                             County SPOTSYLVANIA                            State VA       Zip Code 22553
    Lender/Client      JOHN & CARLA JORDAN




                                                                                                                        Comparable 1
                                                                                                        10709 Greenwood Dr
                                                                                                        Prox. to Subject  5.57 miles NW
                                                                                                        Sale Price        365,000
                                                                                                        Gross Living Area 2,911
                                                                                                        Total Rooms       10
                                                                                                        Total Bedrooms    4
                                                                                                        Total Bathrooms   2.5
                                                                                                        Location          AVERAGE
                                                                                                        View              TYPICAL
                                                                                                        Site              5.00 ACRES
                                                                                                        Quality           GOOD
                                                                                                        Age               24




                                                                                                                        Comparable 2
                                                                                                        12732 Banner Plantation Dr
                                                                                                        Prox. to Subject  3.86 miles E
                                                                                                        Sale Price        350,000
                                                                                                        Gross Living Area 3,668
                                                                                                        Total Rooms       8
                                                                                                        Total Bedrooms    4
                                                                                                        Total Bathrooms   2.5
                                                                                                        Location          AVERAGE
                                                                                                        View              TYPICAL
                                                                                                        Site              3.08 ACRES
                                                                                                        Quality           AVERAGE(+)
                                                                                                        Age               28




                                                                                                                        Comparable 3
                                                                                                        9701 Renfield Ct
                                                                                                        Prox. to Subject    4.58 miles SE
                                                                                                        Sale Price          455,000
                                                                                                        Gross Living Area   3,368
                                                                                                        Total Rooms         10
                                                                                                        Total Bedrooms      4
                                                                                                        Total Bathrooms     2.5
                                                                                                        Location            AVERAGE
                                                                                                        View                TYPICAL
                                                                                                        Site                1.54 ACRES
                                                                                                        Quality             GOOD
                                                                                                        Age                 7




                                       Form PICPIX.CR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                  Comparable Page
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    Borrower           N/A
    Property Address   8400 S Carolina Ct
    City               Spotsylvania                             County SPOTSYLVANIA                            State VA     Zip Code 22553
    Lender/Client      JOHN & CARLA JORDAN




                                                                                                                        Comparable 4
                                                                                                        13600 Fox Chase Ln
                                                                                                        Prox. to Subject  5.50 miles NW
                                                                                                        Sale Price        370,000
                                                                                                        Gross Living Area 3,081
                                                                                                        Total Rooms       10
                                                                                                        Total Bedrooms    3
                                                                                                        Total Bathrooms   2.5
                                                                                                        Location          AVERAGE
                                                                                                        View              TYPICAL
                                                                                                        Site              1.02 ACRES
                                                                                                        Quality           AVERAGE(+)
                                                                                                        Age               17




                                                                                                                        Comparable 5

                                                                                                        Prox. to Subject
                                                                                                        Sale Price
                                                                                                        Gross Living Area
                                                                                                        Total Rooms
                                                                                                        Total Bedrooms
                                                                                                        Total Bathrooms
                                                                                                        Location
                                                                                                        View
                                                                                                        Site
                                                                                                        Quality
                                                                                                        Age




                                                                                                                        Comparable 6

                                                                                                        Prox. to Subject
                                                                                                        Sale Price
                                                                                                        Gross Living Area
                                                                                                        Total Rooms
                                                                                                        Total Bedrooms
                                                                                                        Total Bathrooms
                                                                                                        Location
                                                                                                        View
                                                                                                        Site
                                                                                                        Quality
                                                                                                        Age




                                       Form PICPIX.CR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
Case 17-33374-KRH                 Doc 37        Filed 01/15/18 Entered 01/15/18 15:58:55                                                    Desc Main
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    Borrower           N/A
    Property Address   8400 S Carolina Ct
    City               Spotsylvania                            County SPOTSYLVANIA                            State VA     Zip Code 22553
    Lender/Client      JOHN & CARLA JORDAN




                       BEDROOM                                           BATH                                             BEDROOM




                       KITCHEN                                   LIVING ROOM                                                DEN




                       1/2 BATH                             MASTER BEDROOM                                               MASTER BATH




                       BEDROOM                                           BATH                                      ADDITIONAL KITCHEN




                    FAMILY ROOM                                     SIDE VIEW                                             SIDE VIEW
                                       Form PICINT15 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                          Document & Scope
   Assumptions, Limiting Conditions   Page 22
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                                               Work    File No.:
     Property Address: 8400 S Carolina Ct                                              City: Spotsylvania           State: VA Zip Code: 22553
     Client:    JOHN & CARLA JORDAN                                         Address: 8400 SOUTH CAROLINA CT. SPOTSYLVANIA, VA 22553
     Appraiser:    RONALD W. DAVIS                                          Address: 6320 FIVE MILE CENTRE PARK STE. 323 FREDERICKSBURG, VA.
     STATEMENT OF ASSUMPTIONS & LIMITING CONDITIONS
     - The appraiser will not be responsible for matters of a legal nature that affect either the property being appraised or the title to it. The appraiser
     assumes that the title is good and marketable and, therefore, will not render any opinions about the title. The property is appraised on the basis
     of it being under responsible ownership.
     - The appraiser may have provided a sketch in the appraisal report to show approximate dimensions of the improvements, and any such sketch
     is included only to assist the reader of the report in visualizing the property and understanding the appraiser's determination of its size. Unless
     otherwise indicated, a Land Survey was not performed.
     - If so indicated, the appraiser has examined the available flood maps that are provided by the Federal Emergency Management Agency (or other
     data sources) and has noted in the appraisal report whether the subject site is located in an identified Special Flood Hazard Area. Because the
     appraiser is not a surveyor, he or she makes no guarantees, express or implied, regarding this determination.
     - The appraiser will not give testimony or appear in court because he or she made an appraisal of the property in question, unless specific
     arrangements to do so have been made beforehand.
     - If the cost approach is included in this appraisal, the appraiser has estimated the value of the land in the cost approach at its highest and best
     use, and the improvements at their contributory value. These separate valuations of the land and improvements must not be used in conjunction
     with any other appraisal and are invalid if they are so used. Unless otherwise specifically indicated, the cost approach value is not an insurance
     value, and should not be used as such.
     - The appraiser has noted in the appraisal report any adverse conditions (including, but not limited to, needed repairs, depreciation, the presence
     of hazardous wastes, toxic substances, etc.) observed during the inspection of the subject property, or that he or she became aware of during the
     normal research involved in performing the appraisal. Unless otherwise stated in the appraisal report, the appraiser has no knowledge of any
     hidden or unapparent conditions of the property, or adverse environmental conditions (including, but not limited to, the presence of hazardous
     wastes, toxic substances, etc.) that would make the property more or less valuable, and has assumed that there are no such conditions and
     makes no guarantees or warranties, express or implied, regarding the condition of the property. The appraiser will not be responsible for any
     such conditions that do exist or for any engineering or testing that might be required to discover whether such conditions exist. Because the
     appraiser is not an expert in the field of environmental hazards, the appraisal report must not be considered as an environmental assessment of
     the property.
     - The appraiser obtained the information, estimates, and opinions that were expressed in the appraisal report from sources that he or she
     considers to be reliable and believes them to be true and correct. The appraiser does not assume responsibility for the accuracy of such items
     that were furnished by other parties.
     - The appraiser will not disclose the contents of the appraisal report except as provided for in the Uniform Standards of Professional Appraisal
     Practice, and any applicable federal, state or local laws.
     - If this appraisal is indicated as subject to satisfactory completion, repairs, or alterations, the appraiser has based his or her appraisal report
     and valuation conclusion on the assumption that completion of the improvements will be performed in a workmanlike manner.
     - An appraiser's client is the party (or parties) who engage an appraiser in a specific assignment. Any other party acquiring this report from the
     client does not become a party to the appraiser-client relationship. Any persons receiving this appraisal report because of disclosure requirements

     applicable to the appraiser's client do not become intended users of this report unless specifically identified by the client at the time of the
     assignment.
     - The appraiser's written consent and approval must be obtained before this appraisal report can be conveyed by anyone to the public, through
     advertising, public relations, news, sales, or by means of any other media, or by its inclusion in a private or public database.
     - An appraisal of real property is not a 'home inspection' and should not be construed as such. As part of the valuation process, the appraiser
     performs a non-invasive visual inventory that is not intended to reveal defects or detrimental conditions that are not readily apparent. The
     presence
     of such conditions or defects could adversely affect the appraiser's opinion of value. Clients with concerns about such potential negative factors
     are encouraged to engage the appropriate type of expert to investigate.


     The Scope of Work is the type and extent of research and analyses performed in an appraisal assignment that is required to produce credible
     assignment results, given the nature of the appraisal problem, the specific requirements of the intended user(s) and the intended use of the
     appraisal report. Reliance upon this report, regardless of how acquired, by any party or for any use, other than those specified in this report by
     the Appraiser, is prohibited. The Opinion of Value that is the conclusion of this report is credible only within the context of the Scope of Work,
     Effective Date, the Date of Report, the Intended User(s), the Intended Use, the stated Assumptions and Limiting Conditions, any Hypothetical
     Conditions and/or Extraordinary Assumptions, and the Type of Value, as defined herein. The appraiser, appraisal firm, and related parties assume
     no obligation, liability, or accountability, and will not be responsible for any unauthorized use of this report or its conclusions.


     Additional Comments (Scope of Work, Extraordinary Assumptions, Hypothetical Conditions, etc.):




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                                            Form GPRES2AD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE                                                                                 3/2007
Case 17-33374-KRH                                       Doc 37              Filed 01/15/18 Entered 01/15/18 15:58:55                                                                                              Desc Main
   Certifications                                                          Document     Page 23 of 32     File No.:
                Property Address: 8400 S Carolina Ct                                                       City: Spotsylvania           State: VA Zip Code: 22553
                Client:    JOHN & CARLA JORDAN                                                  Address: 8400 SOUTH CAROLINA CT. SPOTSYLVANIA, VA 22553
                Appraiser:    RONALD W. DAVIS                                                   Address: 6320 FIVE MILE CENTRE PARK STE. 323 FREDERICKSBURG, VA.
                APPRAISER'S CERTIFICATION
                I certify that, to the best of my knowledge and belief:
                - The statements of fact contained in this report are true and correct.
                - The credibility of this report, for the stated use by the stated user(s), of the reported analyses, opinions, and conclusions are limited only by
                the reported assumptions and limiting conditions, and are my personal, impartial, and unbiased professional analyses, opinions, and
                conclusions.
                - I have no present or prospective interest in the property that is the subject of this report and no personal interest with respect to the parties
                involved.
                - Unless otherwise indicated, I have performed no services, as an appraiser or in any other capacity, regarding the property that is the subject of
                this report within the three-year period immediately preceding acceptance of this assignment.
                - I have no bias with respect to the property that is the subject of this report or to the parties involved with this assignment.
                - My engagement in this assignment was not contingent upon developing or reporting predetermined results.
                - My compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value or direction
                in value that favors the cause of the client, the amount of the value opinion, the attainment of a stipulated result, or the occurrence of a subsequent
                event directly related to the intended use of this appraisal.
                - My analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with the Uniform Standards of
                Professional Appraisal Practice that were in effect at the time this report was prepared.
                - I did not base, either partially or completely, my analysis and/or the opinion of value in the appraisal report on the race, color, religion,
                sex, handicap, familial status, or national origin of either the prospective owners or occupants of the subject property, or of the present
                owners or occupants of the properties in the vicinity of the subject property.
                - Unless otherwise indicated, I have made a personal inspection of the property that is the subject of this report.
                - Unless otherwise indicated, no one provided significant real property appraisal assistance to the person(s) signing this certification.

                Additional Certifications:




                DEFINITION OF MARKET VALUE *:
                Market value means the most probable price which a property should bring in a competitive and open market under all conditions requisite
                to a fair sale, the buyer and seller each acting prudently and knowledgeably, and assuming the price is not affected by undue stimulus.
                Implicit in this definition is the consummation of a sale as of a specified date and the passing of title from seller to buyer under conditions
                whereby:
                1. Buyer and seller are typically motivated;
                2. Both parties are well informed or well advised and acting in what they consider their own best interests;
                3. A reasonable time is allowed for exposure in the open market;
                4. Payment is made in terms of cash in U.S. dollars or in terms of financial arrangements comparable thereto; and
                5. The price represents the normal consideration for the property sold unaffected by special or creative financing or sales concessions
                granted by anyone associated with the sale.
                * This definition is from regulations published by federal regulatory agencies pursuant to Title XI of the Financial Institutions
                Reform, Recovery, and Enforcement Act (FIRREA) of 1989 between July 5, 1990, and August 24, 1990, by the Federal Reserve System
                (FRS), National Credit Union Administration (NCUA), Federal Deposit Insurance Corporation (FDIC), the Office of Thrift Supervision (OTS),
                and the Office of Comptroller of the Currency (OCC). This definition is also referenced in regulations jointly published by the OCC, OTS,
                FRS, and FDIC on June 7, 1994, and in the Interagency Appraisal and Evaluation Guidelines, dated October 27, 1994.
                Client Contact:                                                                              Client Name: JOHN & CARLA JORDAN
                E-Mail:                                                                               Address: 8400 SOUTH CAROLINA CT. SPOTSYLVANIA, VA 22553
                APPRAISER                                                                                             SUPERVISORY APPRAISER (if required)
                                                                                                                      or CO-APPRAISER (if applicable)
   SIGNATURES




                                                                                                                      Supervisory or
                Appraiser Name:        RONALD W. DAVIS                                                                Co-Appraiser Name:
                Company: APPRAISAL GROUP OF FREDERICKSBURG                                                            Company:
                Phone: (540) 786-4500 x 121                           Fax: 540-785-5604                               Phone:                                                Fax:
                E-Mail: rdavis@bestappraisal.com                                                                      E-Mail:
                Date Report Signed:             01/05/2018                                                            Date Report Signed:
                License or Certification #:     4001001363                                    State: VA               License or Certification #:                                                                State:
                Designation:       LICENSED RESIDENTIAL                                                               Designation:
                Expiration Date of License or Certification:         02/28/2018                                       Expiration Date of License or Certification:
                Inspection of Subject:               Interior & Exterior        Exterior Only         None            Inspection of Subject:               Interior & Exterior                   Exterior Only              None
                Date of Inspection:       12/28/2017                                                                  Date of Inspection:
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                                                               Form GPRES2AD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE                                                                                  3/2007
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                                        APPRAISER DISCLOSURE STATEMENT

                                                                                                 File No.



    Name of Appraiser:            RONALD W. DAVIS

    Class of Certification/Licensure:                Certified General
                                                     Certified Residential
                                                     Licensed Residential
                                                     Temporary             General              Licensed


    Certification/Licensure Number:              4001001363
    Certification/Licensure State:               VA         Expires:           02/28/2018


    Scope:       This Report             is within the scope of my Certification or License
                                         is not within the scope of my Certification or License


    Service Provided By:                 Disinterested & Unbiased Third Party
                                         Interested & Biased Third Party
                                         Interested Third Party on Contingent Fee Basis


    Signature of person preparing and reporting the Appraisal:




    This form must be included in conjunction with all appraisal assignments or specialized services
    performed by a state-certified or state-licensed real estate appraiser.




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   Borrower             N/A                                         Document     Page 25 of 32       File No.
   Property Address     8400 S Carolina Ct
   City                 Spotsylvania                                                     County SPOTSYLVANIA                                     State VA            Zip Code 22553
   Lender/Client        JOHN & CARLA JORDAN

    APPRAISAL AND REPORT IDENTIFICATION

       This Report is one of the following types:

              Appraisal Report        (A written report prepared under Standards Rule             2-2(a) , pursuant to the Scope of Work, as disclosed elsewhere in this report.)

              Restricted              (A written report prepared under Standards Rule        2-2(b) , pursuant to the Scope of Work, as disclosed elsewhere in this report,
              Appraisal Report        restricted to the stated intended use by the specified client or intended user.)




     Comments on Standards Rule 2-3
     I certify that, to the best of my knowledge and belief:
     - The statements of fact contained in this report are true and correct.
     - The reported analyses, opinions, and conclusions are limited only by the reported assumptions and limiting conditions and are my personal, impartial, and unbiased professional
     analyses, opinions, and conclusions.
     - Unless otherwise indicated, I have no present or prospective interest in the property that is the subject of this report and no personal interest with respect to the parties involved.
     - Unless otherwise indicated, I have performed no services, as an appraiser or in any other capacity, regarding the property that is the subject of this report within the three-year
     period immediately preceding acceptance of this assignment.
     - I have no bias with respect to the property that is the subject of this report or the parties involved with this assignment.
     - My engagement in this assignment was not contingent upon developing or reporting predetermined results.
     - My compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value or direction in value that favors the cause of the
     client, the amount of the value opinion, the attainment of a stipulated result, or the occurrence of a subsequent event directly related to the intended use of this appraisal.
     - My analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with the Uniform Standards of Professional Appraisal Practice that
     were in effect at the time this report was prepared.
     - Unless otherwise indicated, I have made a personal inspection of the property that is the subject of this report.
     - Unless otherwise indicated, no one provided significant real property appraisal assistance to the person(s) signing this certification (if there are exceptions, the name of each
     individual providing significant real property appraisal assistance is stated elsewhere in this report).




     Comments on Appraisal and Report Identification
     Note any USPAP related issues requiring disclosure and any State mandated requirements:
     Digital Signatures: This appraisal has been signed with a password protected digital signature. Electronically affixing a signature to a report
     carries the same level of authenticity and responsibility as an ink signature on a paper copy report. This digital signature can only be affixed
     to, or removed from, the appraisal report by the signatory by means of a confidential password. Not other individual has any knowledge of
     the password or is authorized to affix or delete such digital signature from the appraisal report or any attachments thereto. The appraiser
     certifies that these safeguards, for the protection and affixation of the signature, have been observed.

     Digital Images: Digitized images, such as photographs, maps, exhibits, etc., contained in this report, are unaltered from their original
     likeness. Digital images may, however, have been modified for formatting, for example: cropping, brightness or resolution. These
     modifications are made only to reduce file size or enhance readability and do not manipulate the original likeness. Some photos were taken
     from various multiple listing services and are considered to best represent the comparable sales at the time of the listing.

     Exposure Time 6-12 months: the estimated length of time that the property interest being appraised would have been offered on the market
     prior to the hypothetical consummation of a sale at market value on the effective date of the appraisal. Marketing time is considered to be 6
     to 12 months for the subject based on market research.

     I have performed no other services, as an appraiser or in any other capacity, regarding the property that is the subject of the work under
     review within the three year period immediately preceding acceptance of this assignment.

     Fee for appraisal services is $400.00




     APPRAISER:                                                                                        SUPERVISORY or CO-APPRAISER (if applicable):




     Signature:                                                                                        Signature:
     Name: RONALD W. DAVIS                                                                             Name:
               LICENSED RESIDENTIAL
     State Certification #:                                                                            State Certification #:
     or State License #: 4001001363                                                                    or State License #:
     State: VA           Expiration Date of Certification or License:      02/28/2018                  State:              Expiration Date of Certification or License:
     Date of Signature and Report: 01/05/2018                                                          Date of Signature:
     Effective Date of Appraisal: 07/03/2017
     Inspection of Subject:            None            Interior and Exterior      Exterior-Only        Inspection of Subject:            None           Interior and Exterior    Exterior-Only
     Date of Inspection (if applicable): 12/28/2017                                                    Date of Inspection (if applicable):

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                                                    Supplemental Page 26                         of 32      File No.
    Borrower           N/A
    Property Address   8400 S Carolina Ct
    City               Spotsylvania                                   County SPOTSYLVANIA                           State VA      Zip Code 22553
    Lender/Client      JOHN & CARLA JORDAN
     Purpose, Scope & Synopsis The scope of the appraisal basically provides for a thorough physical inspection of the subject property and its
     environs sufficient to gather all pertinent data to form a market value conclusion. The attributes of the subject property are compared to the
     most comparable data available including properties presently offered for sale, properties currently under contract for sale and sold properties
     where title has fully transferred (i.e. Closed sales). An exterior inspection of the comparable sales is made. Specifics regarding physical features
     of the comparable properties and the terms of sale are verified with parties to the transaction, public records of the jurisdiction and public
     reporting subscriptions services such as dator, msi, redi, lusk and vared. The subject and comparable properties are compared regarding the
     four major elements of comparison (i.e., Location, date of sale, physical characteristics, improvements and conditions of sale), including all
     sub-elements. The necessary market extracted adjustments are then utilized to derive an indicated value by direct sales comparison. The cost
     and income approach are also considered depending on their applicability. After considering all three approaches to value, the appraiser follows
     a thoughtful and thorough reconciliation process to arrive at the market value estimate, as defined as of the effective date of the appraisal as
     stated in the report. The scope of work rule in revised uspap for July 1, 2006 acknowledges that appraisers have broad flexibility and significant
     responsibility in determining the appropriate scope of work.

     The Comments in this addendum are intended to expand on what the appraiser feels are the areas of most importance to the reader to fully
     understand the appraisal report and methodology. The expanded narrative allows the appraiser to provide additional comments where sufficient
     space is not available on the appraisal form. The market has been thoroughly searched and the comparable sales reported are in the appraiser's
     opinion the best sales available that weigh the four major elements of comparison. Their photos are representative of the properties at the time
     of marketing and are best representative of their condition to the buyers market. This appraisal is no substitute for a home inspection, or for a
     buyer walk-through inspection.

     Expanded Scope of Work Statement At the request of the client, this appraisal report has been prepared in compliance with the uniform
     appraisal dataset (uad) from Fannie Mae and Freddie Mac. The uad requires the appraiser to use standardized responses that include specific
     formats, definitions, abbreviations, and acronyms.

     The Appraiser attempted to obtain an adequate amount of information in the normal course of business regarding the subject and comparable
     properties. Some of the standardized responses required by the uad, especially those in which the appraiser has not had the opportunity to
     verify personally or measure, could mistakenly imply greater precision and reliability in the data than is factually correct or typical in the normal
     course of business. Examples include condition and quality ratings as well as comparable sales and listing data. The appraiser makes no
     representations, guarantees or warranties, express or implied, regarding building materials, their fitness, quality, condition or remaining
     economic life. Not every element of the subject property is viewable. The appraiser did not move any personal property, due to liability
     concerns for potential damage to the property, to disclose or reveal any unapparent or hidden defects to the structure, nor did the appraiser
     dismantle or probe the structure to observe enclosed, encased, or otherwise concealed areas. Comparable data was generally obtained from
     third-party sources including but not limited to the local mls, county assessor, township assessor, online resources and additional public data
     sources. Consequently, this information should be considered an "estimate" unless otherwise noted by the appraiser.

     Predominant Value The one unit housing values, from page 1, are based on the entire market researched in the process of determining an
     opinion of value for the subject. This price range includes all types and sizes of similar properties with varying degrees of quality of construction
     and condition of homes. This does not make the subject an under-improvement or an over-improvement in the opinion of the appraiser, rather
     typical for homes most similar to the subject. This range is not limited to those prices listed on page 1 due to the existence of properties outside
     the search criteria for the subject.

     Subject Features The subject's features are not unique when compared to other properties in the neighborhood. They fall within the range of
     typical features for example: condition, size, design style, room count, floor plan, quality, and functional utility. The subject is not considered an
     over or under improvement for the market area and has no marketability concerns. (unless stated otherwise within this report)


     Personal property No items of personal property, which include appliances, are included in the opinion of market value for the subject.

     Permits This Appraisal is based on the assumption that the subject's improvements have been built to all applicable state and local building
     codes and all required permits have been obtained.

     Search criteria Comparable sales as shown in the report are considered to be the best available from the market search that balances the four
     major elements of comparison: location, time of sale, style and appeal . the appraiser used information from the local multiple listing service,
     mris, and in-house files to obtain the optimum comparable sales. The original search parameters were the subject's market area of properties of
     similar acreage, lot physical features, home design style, square footage, and condition. This search included sales within a twelve month date of
     sale.this Search was further narrowed or expanded to best support the qualities of the subject in comparison to the sales in the market. It was
     necessary to research and/or use comparable sales that were foreclosure or short sales due to their availability in the current market. New
     construction active and under contract properties and sales are not always listed in mris by builders/developers; therefore, additional data may
     be unavailable to the appraiser.

     Location of the comparables Although some comparables in the subject market area may be located on the other side of a major roadway or
     interstate, in the opinion of the appraiser, this does not have an affect on the marketability of the subject.

     Comparable Distance from subject It was necessary for the appraiser to broaden the market search to obtain comparables beyond one mile
     with similar utility, style, effective age and sale dates reflective of the current market conditions. Based on accepted appraisal practice with
     emphasis place on weighing the elements of comparison, the sales chosen represent the best indication of the subjects current market value. In
     the appraisers opinion, the sales chosen best weigh the elements of comparison and while the distance from the subject property is very
     important, various factors within the elements of comparison require a wider market search than one mile.

     Comparables sold over 6 months ago it was necessary to analyze comparable sale that may have occurred over 6 months prior to the
     appraisal date. This was necessary to properly balance the four major elements of comparison. The older sales after adjustments are considered
     to best reflect the subject's current market value. Other sales would have required less desirable adjustments and would have reduced the
     reliability of the subject's indicated value.

     Creative Financing and/or sales concessions to the best knowledge of the appraiser, all comparable sales were sold with no special or
     creative financing or sales concessions. Closing costs paid by the sellers of these comparable properties are equivalent to typical financing terms
     offered by third institutional lenders in the local market. In the appraiser's opinion, these sales represent market financing transactions and
     reflect the value of the real estate. The sales prices are not considered to be inflated due to special or excessive financing concessions. The
     indicated values of the comparable sales reflect the value of the subject real estate and include only those seller closing costs normally paid by
     tradition or law in the market area.

     Digital Images and comparable photos digitized images, such as photographs, maps, exhibits, etc., Contained in this report, are unaltered
     from their original likeness. Digital images may, however, have been modified for formatting, for example: cropping, brightness or resolution.
     These modifications are made only to reduce file size or enhance readability and do not manipulate the original likeness.

     Some comparable photos were obtained from various multiple listing services and/or on-line. They are considered to best represent the
     comparable sales at the time of the listing. Use of any mls photos was due to a lack of visibility of the comparables from the street, a street with



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    Borrower           N/A
    Property Address   8400 S Carolina Ct
    City               Spotsylvania                                   County SPOTSYLVANIA                           State VA      Zip Code 22553
    Lender/Client      JOHN & CARLA JORDAN
     no safe pull-over area, or a street that prevents safe stopping due to high volume traffic. A mls comparable photo may also be used because the
     homeowner of a comparable viewed the photo taking process as an intrusion causing a threatening atmosphere for the appraiser.

     Adjustments All Adjustment made for comparable dissimilarities are market derived according to fnma guidelines. Comparable adjustments are
     made as warranted when market research deems verifiable, justifiable, and credible. Due to the lack of recent matched pair analysis data, the
     gross living area adjustment is based on a depreciated cost basis.


     Site adjustment The adjustments for site size are based on market abstraction and contributory value. Above a certain point each additional
     increment of land area contributes less on a per acre or per square foot basis than the initial minimum site size for the area, thus a constant
     dollar per acre or square foot adjustment was not utilized. This concept relates to diminishing marginal utility. All physical factors of the subject
     and comparables sites have been weighed in arriving at site adjustments or lack thereof.

     Net Adjustments Net adjustments for some comparables may exceed 15%. The adjustment is larger than optimum, but the sales selected are
     considered to be the best available from the market search that balance the four major elements of comparison. Other sales analyzed would
     have introduced other less desirable adjustments that would, in the opinion of the appraiser, reduce the reliability of the subject's indicated
     value.

     Gross adjustments Gross adjustments for some comparables may exceed 25%. The adjustment is larger than optimum, but the sales selected
     are considered to be the best available form the market search that balanced the four major elements of comparison. Other sales analyzed
     would have introduced other less desirable adjustments that would, in the opinion of the appraiser, reduce the reliability of the subject's
     indicated value.

     Mold The appraiser is not a home or environmental inspector. The appraiser provides an opinion of value. The appraisal does not guarantee that
     the property is free defects or environmental problems. The appraiser performs an inspection of visible and accessible area only. Mold may be
     present in areas the appraiser cannot see. A professional home inspection or environmental inspection in recommended.


     Environmental disclaimer The appraiser has not been informed, nor has the appraiser any knowledge of the existence of any environmental
     or health impediment, which if known, could have a negative impact on the market value of the subject property. The valuation contained
     herein is not valid if any hazardous items are found in the subject property and not stated within the appraisal report, including but not limited
     to: ureaformaldehyde foam insulation, radon gas, asbestos products, lead or lead based products, toxic waste contaminates.

     Energy Efficient items Energy efficient items shown in the grid as 'typical', meaning that there does not appear to be any other energy
     efficient features in the subject or any of the comparables other than what is anticipated in the subject's market. Typical eei are: insulated
     windows & doors, ceiling fans; floor, wall and/or ceiling insulation at or above code, etc.

     Privacy Statement Pursuant to the Gramm-leach-Bliley act of 1999, effective July 1, 2001, appraisers along with all providers of personal
     financial services are now required by federal law to inform their clients of the policies of the firm with regard to the privacy of client, nonpublic
     personal information. As professionals we understand that personal privacy is very important and are pleased to provide this information.

     1. Types of nonpublic personal information we collect:
     we neither collect nor store any financial, credit of personal data. Property tax assessments, sales price and type of financing are public data.
     The size, condition and quality of construction of a property can be found in public records.
     2. Parties to whom we disclose information:
     we provided information only to the client names as the intended user of this report and to any public agencies which might have authority to
     request said information under the law and in accordance with the confidentiality section of the ethics rule of the uniform standards of
     professional appraisal practice effective July 1, 2001.


     Data Information on subject and comparable sales data which was used in this report was provided by financial institutions, government
     agencies, sales agents, real estate firms and tax records which were available at the time of inspection. As tax records are only periodically
     updated and sometimes incomplete, it is necessary to supplement some sales data with real estate firms and their information services and also
     to have field estimates of square footage. This information is assumed to be true, correct, and reliable. No responsibility for the accuracy of
     such information is assumed by the appraiser. Opinions and estimates expressed herein represent our best judgment but should not be
     construed as advice or recommendation to act. Any actions taken by you, the client, or any others should be based upon your own judgment,
     and the decision process should consider many factors other than just the value estimated and information given in this report. The appraiser
     should be contacted with any questions before this report is relied upon for decision making. This appraisal is an estimate of value based on an
     analysis of information known to us at the time the appraisal was completed. We do not assume any responsibility for incorrect analysis because
     of incorrect or incomplete information which was provided to the appraiser. If new data or documentation is provided to the appraiser, the value
     in this report is subject to change based on the significance of this new data.

     Highest And Best Use The highest and best use of this property or any property is that use which is legally permissible, physically possible and
     capable of producing the highest net return to the owner and finally, producing the highest present worth among feasible uses. Based on an
     examination of the subject's physical and legal characteristics, the most profitable use would be to develop with a single-family home. The
     immediate neighboring properties which are adjacent to the subject are residential in nature. It is located in a zoning district that allows for a
     single family dwelling and is in an area close to other residential developments. Linkages and retail and commercial establishments are located
     within reasonable distances. Therefore, it is physically possible to develop the subject, limited only by its size and terrain.


     WELL WATER

     The subject property does not have access to public water. The appraiser is not aware of any announced plans to provide
     public water to the subject site. Private well water systems are typical of the area and this factor will not negatively impact the
     subject's marketability or market value. The appraiser assumes that the well meets municipal testing standards. A well test by a
     private or municipal lab is sufficient to certify well compliance to local standards. This appraisal documentation does not certify
     the well to local standards. A well certification may be required at client's option

     SEPTIC

     The subject property does not have access to public sewer. In the current market area, this does not have a negative impact on
     the market value of the subject property. The appraiser is not aware of any announced plans to provide public sewer to the
     subject site. Private septic systems are typical of the area and the appraiser assumes that the septic system "percs" for the
     minimum of required number bedrooms. A septic system test by a private or municipal lab is sufficient documentation to certify
     the "perc" rate. This appraisal documentation does not certify the septic system.. A septic certification may be required at the
     client's option.


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    Borrower           N/A
    Property Address   8400 S Carolina Ct
    City               Spotsylvania                            County SPOTSYLVANIA                           State VA   Zip Code 22553
    Lender/Client      JOHN & CARLA JORDAN




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